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     Fill in this information to identify your case:

     Debtor 1                    Randy L. Bingham
                                 First Name                     Middle Name             Last Name

     Debtor 2                    Jessica Lyn Bingham
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              NORTHERN DISTRICT OF ILLINOIS

     Case number              22-00494
     (if known)
                                                                                                                                       Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                        12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


                   No

             Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X                                                                           X
                  Randy L. Bingham                                                          Jessica Lyn Bingham
                  Signature of Debtor 1                                                     Signature of Debtor 2

                  Date       February 14, 2022                                              Date    February 14, 2022




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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